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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                            COLUMBUS DIVISION

S.F.,                               :
                                    :
            Plaintiff,              :
                                    :
v.                                  :     CASE NO. 4:19-CV-214-CDL-MSH
                                    :
COMMISSIONER OF SOCIAL              :
SECURITY,                           :
                                    :
            Defendant.              :
                                    :

                                  ORDER

       Upon consideration of Plaintiff’s motion for attorney’s fees

(ECF No. 17) pursuant to 42 U.S.C. § 406(b) and all the supporting

documents annexed thereto, as well as the other related filings,

including the Commissioner’s response, it is ORDERED that

       1. Plaintiff’s attorney is awarded attorney’s fees under 42

U.S.C. § 406(b) in the amount of $5,464.73, which the Court finds

reasonable for the services rendered, less the $464.73 previously

paid to the Plaintiff’s attorney under the Equal Access to Justice

Act. The Court finds that a reduction in the fee award by $464.73

is an appropriate and reasonable alternative to granting a full

fee award but ordering counsel to reimburse Plaintiff with the

amount of the lesser award.

       2. Defendant shall pay $5,000.00 from Plaintiff’s past-due

benefits directly to Plaintiff’s attorney for the net attorney’s
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fees under the Social Security Act, 42 U.S.C. § 406(b), within a

reasonable time.

     SO ORDERED, this 29th day of October, 2024.




                                        S/Clay D. Land
                                        CLAY D. LAND
                                        U.S. DISTRICT COURT JUDGE
                                        MIDDLE DISTRICT OF GEORGIA




                                    2
